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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR. No. 06-00080 SOM
                              )
                Plaintiff,    )
                              )           ORDER AFFIRMING MAGISTRATE
          vs.                 )           JUDGE’S ORDER DENYING
                              )           DEFENDANT KAI MING WANG’S
KAI MING WANG,       (01)     )           MOTION TO SEVER DEFENDANT
   also known as “A Fook,”    )           AND/OR COUNTS FOR TRIAL ON
RODNEY JOSEPH, JR., (02)      )           THE FIRST SUPERSEDING
KEVIN A. GONSALVES, (03)      )           INDICTMENT
   also known as “Poncho,”    )
SIAOSI ALAPATI,      (04)     )
ETHAN MOTTA          (05)     )
   also known as “Malu,”      )
                              )
                Defendants.   )
_____________________________ )

           ORDER AFFIRMING MAGISTRATE JUDGE’S ORDER DENYING
         DEFENDANT KAI MING WANG’S MOTION TO SEVER DEFENDANT
      AND/OR COUNTS FOR TRIAL ON THE FIRST SUPERSEDING INDICTMENT

I.           INTRODUCTION.

             Defendant Kai Ming Wang (“Wang”) moved to sever himself

and/or counts for trial on the First Superseding Indictment

(“Indictment”).      On May 30, 2006, after a hearing on the matter,

Magistrate Judge Kevin S.C. Chang denied the motion, concluding

that joinder of the offenses and defendants was proper, given the

logical relationship between the defendants and the alleged

criminal activity.

             Wang now appeals that order, arguing that the joinder

in the Indictment of him with Defendants Rodney Joseph, Jr.

(“Joseph”), Kevin A. Gonsalves (“Gonsalves”), Siaosi Alapati

(“Alapati”), and Ethan Motta (“Motta”) (collectively,
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“codefendants”)1 violates Rule 8(b) of the Federal Rules of

Criminal Procedure.     Wang argues that there is no logical

relationship between alleged actions by Wang and the murders and

attempted murder charged against the codefendants.             Wang also

contends that, even if joinder is proper, he will be manifestly

prejudiced by a joint trial and should therefore have a separate

trial under Rule 14(a) of the Federal Rules of Criminal

Procedure.     The court disagrees with Wang and affirms Magistrate

Judge Chang.

II.          LEGAL STANDARD.

             Pursuant to 28 U.S.C. § 636(b)(1) and Criminal Local

Rule 57.3(b), a party may appeal to the district court to

reconsider any pretrial nondispositive matter determined by a

magistrate judge.     Under 28 U.S.C. § 636(b)(1)(A), a magistrate

judge’s order may be reversed by the district court only if it is

“clearly erroneous or contrary to law.”       The threshold of the

“clearly erroneous” test is high.      United States v. U.S. Gypsum

Co., 333 U.S. 364, 395 (1948) (“A finding is ‘clearly erroneous’

when although there is evidence to support it, the reviewing

court on the entire evidence is left with the definite and firm

conviction that a mistake has been committed.”); Thorp v. Kepoo,

100 F. Supp. 2d 1258, 1260 (D. Haw. 2000) (the clearly erroneous



      1
       All defendants are referred to collectively as
“Defendants.”

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standard is “significantly deferential, requiring a definite and

firm conviction that a mistake has been committed”).

III.        BACKGROUND FACTS.

            Between 1999 and January 2004, Defendants were

allegedly engaged in an illegal gambling enterprise.             Indictment,

Count 1.    The illegal gambling business, or “gameroom,” involved

card games and electronic video gambling machines that operated

continuously for over 30 days and had a gross revenue of $2,000

on any single day.    Id.

            Wang was allegedly the leader of the enterprise.

Indictment, Count 2 ¶ 4(a).       He allegedly expanded his criminal

enterprise by targeting rival gamerooms and closing them down

through force and intimidation.          See id. ¶ 5.

            In August and September 2003, Wang, Joseph, Gonsalves,

and Alapati allegedly conspired to extort the owners of a rival

gameroom.    Indictment, Count 2 ¶ 9.        During that time, Joseph,

Gonsalves, and Alapati allegedly used a firearm to rob

individuals at the rival gameroom.          Id. ¶ 10.

            Motta and Joseph were allegedly receiving more money

from Wang to provide protection and security than others hired

for the same purpose.       The Government says that this led to

conflict among the security workers.          Opp. to Motion at 2.       On

January 7, 2004, Motta, Joseph, and Gonsalves allegedly gunned

down Lepo Taliese (“Taliese”), Romelius Corpuz, Jr. (“Corpuz”),


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and Tinoimalu Sao (“Sao”), who had also been hired by Wang to

provide security.     Id.   Taliese and Corpuz died; Sao survived

with a bullet permanently embedded in his skull.           See id.;

Indictment, Count 6 ¶ 2, Count 7 ¶ 2, Count 8 ¶ 2.

             On March 29, 2006, a grand jury returned an eight-count

First Superseding Indictment.      Count 1 alleges that Defendants

“did unlawfully and knowingly conduct, finance, manage,

supervise, direct, and own all or part of an illegal gambling

business.”

             Count 2 charges Defendants, allegedly led by Wang, with

a RICO violation, alleging that they were members of an illegal

“enterprise.”     Count 2 lists seven racketeering predicate

offenses.     Only Racketeering Acts One and Two, which allege that

Defendants conducted, financed, managed, supervised, directed,

and owned all or part of the enterprise and that they conspired

to extort the owners of a rival gambling business, are charged

against Wang.     The remaining five Racketeering Acts allege that

the codefendants committed murders and an attempted murder.

             Count 3 charges Defendants with participating in a

racketeering conspiracy.       Counts 4 and 5 charge Joseph,

Gonsalves, and Alapati with assaulting individuals at a rival

gameroom with a dangerous weapon.        Counts 6 and 7 charge Motta,

Joseph, and Gonsalves with murder in the second degree of Taliese




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and Corpuz, respectively.        Count 8 charges Motta, Joseph, and

Gonsalves with attempted murder in the second degree of Sao.

IV.          ANALYSIS.

             A.     Joinder of Defendants Was Proper Under Rule 8(b).

             Wang argues that Magistrate Judge Chang erred in

concluding that Wang’s joinder with the codefendants was

permitted under Rule 8(b) of the Federal Rules of Criminal

Procedure.        Wang contends that he “did not participate ‘in the

same act or transaction or in the same series of acts or

transactions’” as his codefendants and that the “sole connection”

between counts against Wang and counts against the codefendants

“is that [they] involve[] some of the same Defendants as alleged

in other counts.”        This court concludes that the joinder of

Defendants was proper.

             Rule 8(b) of the Federal Rules of Criminal Procedure

provides:

             The indictment or information may charge 2 or
             more defendants if they are alleged to have
             participated in the same act or transaction,
             or in the same series of acts or
             transactions, constituting an offense or
             offenses. The defendants may be charged in
             one or more counts together or separately.
             All defendants need not be charged in each
             count.

             In applying Rule 8(b), the Ninth Circuit “look[s] to

the phrase ‘same series of acts or transactions constituting an

offense or offenses.’”        United States v. Vasquez-Velasco, 15 F.3d


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833, 843 (9th Cir. 1994).      The term “transaction” is interpreted

flexibly, and whether a “series” exists depends on whether there

is a “logical relationship” between the transactions.               Id.    A

logical relationship is typically shown “by the existence of a

common plan, scheme, or conspiracy.”            Id. at 844.    “Mere factual

similarity between events is not a sufficient basis for joinder,

nor is the mere showing that the events occurred at about the

same time or that the acts violated the same statute.”                Id. at

834-44 (citing United States v. Ford, 632 F.2d 1354, 1372 (9th

Cir. 1981); United States v. Satterfield, 548 F.2d 1341, 1344

(9th Cir. 1977)).

          “Rule 8(b) should be construed broadly in favor of

initial joinder.”    Id. at 844 (citing Ford, 632 F.2d at 1372;

Satterfield, 548 F.2d at 1344).         The goal of “‘maximum trial

convenience consistent with minimum prejudice’ is best served by

permitting initial joinder of charges against multiple defendants

whenever the common activity constitutes a substantial portion of

the proof of the joined charges.”         Id.

          Wang argues that Rule 8(b) joinder is improper because

he “did not participate ‘in the same act or transaction or in the

same series of acts or transactions’” as his codefendants and

because the “sole connection” between counts against himself and

counts against his codefendants “is that [they] involve[] some of

the same Defendants.”


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            The Indictment bases Wang’s RICO liability on:

(1) allegations that he conducted, financed, managed, supervised,

directed, and owned all or part of an illegal gambling business

and (2) allegations that he conspired to extort the owners of a

rival illegal gambling business.            Indictment, Count 2 ¶¶ 8-9.

Only Wang’s codefendants were charged with separate racketeering

predicate acts of:      (1) robbing and aiding and abetting

robberies; (2) committing murder; and (3) attempting to commit

murder.    Id. ¶¶ 10-14.

            In United States v. Eufrasio, 935 F.2d 553, 558 (3d

Cir. 1991), the Third Circuit was faced with analogous facts.                     In

that case, Mario Eufrasio, Gary Iacona (collectively, “the

appellants”), and Santo Idone (“Idone”) were all charged with

RICO violations, attempted extortion, and illegal gambling.                 Id.

at 557.    The appellants’ liability was predicated on attempted

extortion, illegal video poker machine gambling, and collection

of unlawful debts.      Id.     Only Idone was charged with a separate

racketeering predicate act of conspiracy to murder.                The district

court denied the appellants’ pretrial motions to sever Idone’s

trial from their own.         Id. at 563.     On appeal, the appellants

argued that they should not have been joined with Idone because

they “were wholly unconnected with and unaware of the murder

conspiracy charged as a racketeering predicate against Idone

only.”    Id. at 566.


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          The Third Circuit Court noted:

               Rule 8(b) provides substantial leeway to
          prosecutors who would join racketeering
          defendants in a single trial. The rule
          permits joinder of defendants charged with
          participating in the same racketeering
          enterprise or conspiracy, even when different
          defendants are charged with different acts,
          so long as indictments indicate all the acts
          charged against each joined defendant (even
          separately charged substantive counts) are
          charged as racketeering predicates or as acts
          undertaken in furtherance of, or in
          association with, a commonly charged RICO
          enterprise or conspiracy. “[J]oinder of a
          conspiracy count and substantive counts
          arising out of the conspiracy [is permitted],
          since the claim of conspiracy provides a
          common link, and demonstrates the existence
          of a common scheme or plan.”

Id. at 567 (emphasis in original) (citation omitted).             The court

noted that “the murder conspiracy and all the other acts charged

in this case were related and formed a single pattern of

racketeering activity, because each was committed in furtherance

of the Scarfo enterprise.”     Id.       Thus, the court held, “There was

no Rule 8(b) misjoinder of appellants because, consistent with

the law of joinder in RICO cases, all the criminal acts charged

against each defendant, including the murder conspiracy

implicating Idone, were undertaken in furtherance of a single,

commonly charged racketeering enterprise and conspiracy.”              Id.

          In the present case, the robbery, murder, and attempted

murder charges, as well as the RICO conspiracy, including the

RICO predicate offenses charged against Wang, allegedly formed a


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pattern of racketeering activity, with each act allegedly

committed in furtherance of the illegal gambling business

enterprise.    Because all of the criminal acts charged against

each Defendant, including the murder and attempted murder

charges, were undertaken in furtherance of the single, commonly

charged racketeering enterprise and conspiracy, the Magistrate

Judge committed no clear error in finding a “logical

relationship” among Defendants’ acts, making joinder of

Defendants appropriate.    See Eufrasio, 935 F.2d at 567; see also

United States v. Vasquez-Velasco, 15 F.3d at 844 (noting that a

logical relationship is typically shown “by the existence of a

common plan, scheme, or conspiracy”).

          B.     A Joint Trial is Proper Under Rule 14(a).

          Wang also argues that the Magistrate Judge erred in

concluding that “a joint trial of these matters is the

appropriate way to secure a consistent verdict as to all

defendants.”    Wang contends that, even if joinder under Rule 8(b)

was proper, a separate trial is necessary under Rule 14(a) of the

Federal Rules of Criminal Procedure because a joint trial will

significantly prejudice his trial rights.        The court disagrees.

          Rule 14(a) provides:     “If the joinder of offenses or

defendants in an indictment . . . appears to prejudice a

defendant or the government, the court may order separate trials

of counts, sever the defendants’ trials, or provide any other


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relief that justice requires.”       “Rule 14 recognizes that joinder,

even when proper under Rule 8(b), may prejudice either a

defendant or the Government.”       Zafiro v. United States, 506 U.S.

534, 538-39 (1993).      However, “Rule 14 does not require severance

even if prejudice is shown; rather, it leaves the tailoring of

the relief to be granted, if any, to the district court’s sound

discretion.”      Id. at 538.

              According to the Supreme Court, “when defendants

properly have been joined under Rule 8(b), a district court

should grant a severance under Rule 14 only if there is a serious

risk that a joint trial would compromise a specific trial right

of one of the defendants, or prevent the jury from making a

reliable judgment about guilt or innocence.”          Id. at 539.      The

Ninth Circuit says, “The ultimate question is whether under all

the circumstances of the particular case, as a practical matter,

it is within the capacity of the jurors to follow the court’s

admonitory instructions and accordingly to collate and appraise

the independent evidence against each defendant solely upon that

defendant’s own acts, statements and conduct.”           United States v.

Campanale, 518 F.2d 352, 359 (9th Cir. 1975).

              “The burden of demonstrating prejudice is a difficult

one.”   Id.     “The defendant must demonstrate that the joint trial

was so manifestly prejudicial as to require the trial judge to

exercise his discretion in but one way, by ordering a separate


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trial.”     United States v. Sherlock, 962 F.2d 1349, 1360 (9th Cir.

1989).    The defendant “must also show violation of one of his

substantive rights by reason of the joint trial:           unavailability

of full cross-examination, lack of opportunity to present an

individual defense, denial of Sixth Amendment confrontation

rights, lack of separate counsel among defendants with

conflicting interests, or failure properly to instruct the jury

on the admissibility of evidence as to each defendant.”             Id.

(citing United States v. Escalante, 637 F.2d 1197, 1201 (9th Cir.

1980)).     The defendant “must show more than the fact that a

separate trial might offer him a better chance of acquittal.”

Campanale, 518 F.2d at 359.       “The risk of prejudice will vary

with the facts in each case.”       Zafiro, 506 U.S. at 539.

             Wang argues that he will be prejudiced in a joint trial

because “evidence relating to the counts unrelated to allegations

against WANG could easily be interpreted by a jury as proof for

Count 1.”     Appeal at 8.    The Ninth Circuit addressed a similar

argument in Williamson v. United States, 310 F.2d 192, 197 (9th

Cir. 1962).     In that case, the defendant argued that, although

joinder of the counts in the indictment was permissible under

Rule 8, a joint trial would prejudice him.          Id.   The defendant’s

“showing of anticipated prejudice consisted of an assertion ‘that

evidence that might be adduced in connection with the Counts

where he is not named as a party defendant will be highly


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prejudicial to him, and will tend to cause the jury to become

confused as to [his] lack of participation in any of said

counts.’”   Id.     The Ninth Circuit affirmed the district court’s

denial of the defendant’s motion to sever, stating, “A general

unsupported assertion of prejudice was not enough to justify the

severance of counts properly joined.”         Id.   Like the defendant in

Williamson, Wang fails to establish prejudice sufficient to

warrant a separate trial.

            Wang also argues that “a joint trial would effectively

allow the admission of ‘other act’ evidence which would be

inadmissible in separate trials.”       Appeal at 9.      Specifically,

Wang says that “evidence of alleged conduct by the other

codefendants in the murder and attempted murder Counts would not

be admitted at the joint trial as proof going to the allegations

against WANG.”      Appeal at 9.

            “When the risk of prejudice is high, a district court

is more likely to determine that separate trials are necessary,

but, as we indicated in Richardson v. Marsh, [481 U.S. 200, 211

(1987)], less drastic measures, such as limiting instructions,

often will suffice to cure any risk of prejudice.”              Zafiro, 506

U.S. at 539.      Indeed, “juries are presumed to follow their

instructions.”      Id. at 540 (citing Richardson, 481 U.S. at 211).

“Judicial economy justifies reliance on the jury to follow the

instructions of the court that segregate the evidence and limit


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the applicability of the evidence to each defendant.”               United

States v. Matta-Ballesteros, 71 F.3d 754, 771 (9th Cir. 1995).

                In Zafiro, 506 U.S. at 540, the defendants seeking

severance argued that “the jury will conclude . . . that at least

one of the two [defendants] must be guilty without regard to

whether the Government has proved its case beyond a reasonable

doubt.”     The Supreme Court noted that the district court had

instructed the jury that:         (1) “the Government had ‘the burden of

proving beyond a reasonable doubt’ that each defendant committed

the crimes with which he or she was charged”; (2) the jury “must

‘give separate consideration to each individual defendant and to

each separate charge against him”; and (3) “[e]ach defendant is

entitled to have his or her case determined from his or her own

conduct and from the evidence that may be applicable to him or to

her.”     Id.     The district court had also “admonished the jury that

opening and closing arguments are not evidence and that it should

draw no inferences from a defendant’s exercise of the right to

silence.”        Id. at 541.   The Supreme Court concluded that “[t]hese

instructions sufficed to cure any possibility of prejudice.”                 Id.

(citing Schaffer v. United States, 362 U.S. 511, 516 (1960)).

                As in Zafiro, 506 U.S. at 541, this court will provide

the jury with limiting instructions stating that the jury must

give separate consideration to each defendant and to each

separate charge against each defendant, and that each defendant


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is entitled to have his case determined from evidence applicable

to him.   Presuming, as this court must, that the jury will follow

the court’s instructions, these instructions address Wang’s

concern that the jury will consider evidence regarding the

murders and attempted murder when deciding whether Wang is guilty

of the offenses he is charged with.         See id. at 540 (citing

Richardson, 481 U.S. at 211); Matta Ballesteros, 71 F.3d at 771

(“Judicial economy justifies reliance on the jury to follow the

instructions of the court that segregate the evidence and limit

the applicability of the evidence to each defendant.”).              Because

Wang has not met his burden of showing prejudice and because jury

instructions will cure any possible prejudice, the court affirms

the Magistrate Judge’s conclusion that a joint trial is proper.

V.          CONCLUSION.

            The court affirms the Magistrate Judge’s Order Denying

Defendant Kai Ming Wang’s Motion to Sever Defendant and/or Counts

for Trial on the First Superseding Indictment.

                        IT IS SO ORDERED.

                        DATED:    Honolulu, Hawaii, July 5, 2006.


                                    _____________________________
                                    Susan Oki Mollway
                                    United States District Judge


United States v. Wang; CR. No. 06-00080 SOM; ORDER AFFIRMING MAGISTRATE
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